




DISMISSAL FORM FOR CRIMINAL CASES ON ANT'S MOTION/OR WD NOA         




		NO. 12-02-00274-CR



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS




KRISTI RENE HURSLEY, A/K/A

KRISTI RENE JOHNS,§
	APPEAL FROM THE 

APPELLANT


V.§
	COUNTY CRIMINAL COURT NO. 7 OF


THE STATE OF TEXAS,

APPELLEE§
	TARRANT COUNTY, TEXAS







MEMORANDUM OPINION (1)


	Appellant has filed a motion to dismiss this appeal.  The motion is signed by Appellant and
her counsel.  No decision having been delivered by this court, the motion is granted, and the appeal
is dismissed in accordance with Texas Rule of Appellate Procedure 42.2.


Opinion delivered October 23, 2002.

Panel consisted of Gohmert, Jr., C.J., Worthen, J., and Griffith, J.






(DO NOT PUBLISH)
1.  See Tex. R. App. P. 47.1.


